        Case 1:21-mj-00307-ZMF Document 10 Filed 03/22/21 Page 1 of 14




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA
               Plaintiff,

                    v.                                     CASE NO.: 1:21-mj-00307


JEFFERY MCKELLOP
              Defendant.


                           DEFENDANT’S MEMORANDUM
                      IN OPPOSITION OF PRE-TRIAL DETENTION

       The Defendant, Jeffrey McKellop, by and through counsel, respectfully requests that this

Honorable Court deny the Government’s motion to detain the Defendant. Mr. McKellop is

accused of crimes that qualify for the Government to request pretrial detention under 18 U.S.C.

§§3142(f)(1)(A) and §§3142(f)(1)(E). There is no presumption against pretrial detention in this

case under 18 U.S.C. §3142(e)(2). Therefore, it is the Government’s burden to show that there

are no conditions listed under 18 U.S.C. §3142(c) that can reasonably assure that the Defendant

is not a flight risk, nor to guarantee that he is not a danger to the community. The Government’s

burden of proof to detain based on risk of flight is preponderance of the evidence. United States

v. Gonzalez, 805 Fed. Appx. 8, 9 (D.C. Cir. 2020). The Government’s burden of proof to detain

based on a danger to the community is clear and convincing evidence. United States v. Vasquez-

Benitez, 919 F.3d 546, 550 (D.C. Cir. 2019). The Defendant contends that he is neither a flight

risk nor a danger to the community.

       In making its determination, the Court is to consider the four factors laid out in 18 U.S.C.

§3142(g). The Defendant respectfully requests that the following points and authorities, as well
         Case 1:21-mj-00307-ZMF Document 10 Filed 03/22/21 Page 2 of 14




as any other facts, arguments, and authorities presented at the detention hearing be considered in

the Court’s determination regarding pre-trial detention.

                                  FACTUAL BACKGROUND

       Mr. McKellop served a total of nearly twenty-two and a half years of active-duty service

and just under one year of inactive service in the United States Army. (Exhibit A – Defendant’s

Certificate of Release or Discharge from Active Duty). Mr. McKellop spent 9 years of his

service in the Special Forces. Id. at n.11. Mr. McKellop honorably retired from the United States

Army on August 12, 2010. Id. at n. 23-24. During Mr. McKellop’s twenty-two and a half years

of active service, Mr. McKellop received numerous Decorations, Medals, Badges, Citations and

Campaign Ribbons, including the 3 Bronze Stars and a Meritorious Service Award. Id. at n. 13,

18.

       Mr. McKellop traveled to Washington D.C. for the purpose of attending the rally on

January 6, 2021 for then-President Donald J. Trump. (Exhibit B – Sworn Affidavit from Scott

Steiert). He was invited to join his friend Mr. Scott Steiert. Id. Mr. Steirt was concerned about

violence from counterprotesters, and so Mr. McKellop brought his body armor in order to protect

himself. Id.

       In early February, several photographs of Mr. McKellop were posted on the FBI’s

website with numbered identifiers, some with Mr. McKellop’s face and others purporting to be

him wearing a gas mask. Statement of Facts at 3-4. On February 7, 2021, Mr. McKellop

contacted counsel to begin the process of reaching out to the government in relation to the

incident in question. On February 9, 2021 Counsel attempted to contact the Federal Bureau of

Investigation (FBI) and was unable to reach an agent or other representative. On February 11,

2021, Counsel was able to reach a Deputy of the United States’ Attorney’s Office involved in
         Case 1:21-mj-00307-ZMF Document 10 Filed 03/22/21 Page 3 of 14




this matter. On February 12, 2021, Counsel, at the direction of Mr. McKellop, informed the

Deputy of Mr. McKellop’s name and the number identifier he was given on the FBI’s website.

Several emails were exchanged, and a conversation occurred between Government Counsel and

Defense Counsel on February 17, 2021. On March 14, 2021, Counsel was contacted to discuss

turning Mr. McKellop in. A self-surrender was arranged and occurred, without incident, on

March 17, 2021 at the Washington field office for the FBI. Mr. McKellop has been in custody

since his surrender.

                                          ARGUMENT

       The defendant requests that this Court grant him pretrial release, as there are conditions

that can reasonably be placed upon him to ensure the safety of the community and his

appearance in this Court. The factors of 18 U.S.C. §3142 (g) that the court should consider when

determining whether to release an individual pending trial are 1) the nature and circumstances of

the offense charged, 2) the weight of the evidence against the defendant; 3) his history and

characteristics, and 4) the nature and seriousness of the danger to any person or the community

that would be posed by his release. 18 U.S.C. §3142(g). The weight of all of these factors, and

the Government’s own actions in relation to Mr. McKellop weigh in favor of release.

                       Nature and Circumstances of the Offense Charged

       The offenses charged against Mr. McKellop are crimes related to a riot that stemmed

from a rally for the then-President of the United States. The pictures of the riot show hundreds, if

not thousands of individuals, participating in the events outside of the Capitol Building on

January 6, 2021. The offenses here including those related to the assault of federal law

enforcement do not necessarily depict an intent to enter the Capitol Building, as the government

contends. In fact, they do not allege that Mr. McKellop every breached the Capitol Building.
            Case 1:21-mj-00307-ZMF Document 10 Filed 03/22/21 Page 4 of 14




Further, the Government contends that the alleged attacks were targeted, though based on the

locations of the officers to each other, they appear to simply have been in one general area with

no direction or plan.

           What tactical gear Mr. McKellop was wearing was brought in case of violence caused by

counter protesters. Mr. McKellop did not come armed with any firearms nor is there evidence of

any knives or other bladed weapons.

           Admittedly the charges against Mr. McKellop are serious, however, they are far from

targeted or premeditated as the government would contend. Based on the description in both the

Statement of Facts and the Government’s Memorandum in Support of Pre-trial detention, they

appear to be crimes of opportunity. Even the “weapon” that was alleged to have been used was

not one that was brought with Mr. McKellop, but instead he is accused of picking it up near the

assault.

                           Weight of the Evidence Against the Defendant

           All of the evidence of the assaults in this case being perpetrated by Mr. McKellop is

circumstantial. All video evidence of the assaults appear to have the perpetrator wearing a gas

mask that obscures the perpetrator’s face. There is a description of a video that shows Mr.

McKellop putting a similar gas mask on, but there is no statement of video connecting Mr.

McKellop directly from the time that he allegedly puts the gas mask on, to the time of the initial

assaults. With hundreds or even thousands of individuals participating in the riot, it would be

incredibly difficult to show that no other participant wore similar clothing.

                              Defendant’s History and Characteristics

           Mr. McKellop’s History and Characteristics weighs heavily in favor of release. Mr.

McKellop’s character, prior to these alleged charges can only be evidenced through his
        Case 1:21-mj-00307-ZMF Document 10 Filed 03/22/21 Page 5 of 14




distinguished service of twenty-two and half years, his three bronze stars, meritorious service

award, and various other awards. After his distinguished career in the military Mr. McKellop

continued to work for the government as a contractor through companies such as GRS. He

owns/has a mortgage on his home in Fishersville, Virginia. Has no record of drug or alcohol

abuse, nor any criminal history. Due to the lack of criminal history he has no record concerning

appearing in court. Nor was Mr. McKellop on any form of probation or release pending trial,

sentencing or appeal.

       The best evidence of Mr. McKellop’s character and his likelihood of appearing in court

for these matters, are the events that occurred after the FBI posted images of Mr. McKellop

online. Mr. McKellop became aware of those images soon after their posting, and immediately

began a search for counsel to engage in discussions with the FBI or United State’s Attorney’s

office. After Counsel made contact with the United State’s Attorney’s Office, he directed

Counsel to inform them of his name to continue the process. At that time Mr. McKellop had no

way of knowing that the FBI had received tips related to his identity. Mr. McKellop was made

aware that the Government was likely to charge him soon thereafter. If Mr. McKellop had

intended to flee, he would have done so.

        Further, once the Government did decide that they were ready to press charges against

Mr. McKellop, more than a month after he had made contact with the United State’s Attorney’s

Office, he agreed to a self-surrender. Further, Mr. McKellop brought the cell phone that he was

using on January 6, 2021 at the request of the Government. There is no evidence that Mr.

McKellop attempted to conceal or destroy any evidence of any role that Mr. McKellop may have

played in the events of January 6, 2021. To the contrary, the Government states that during a

search executed on his home, the clothing that Mr. McKellop was alleged to have worn on the
         Case 1:21-mj-00307-ZMF Document 10 Filed 03/22/21 Page 6 of 14




date in question was found. It should further be noted that conversations related to a self-

surrender were started on March 14, 2021 and the surrender was scheduled for March 17, 2021.

Yet again, after having been informed that the Government was now absolutely going to charge

him, he still did not flee, and instead arranged to surrender himself to the FBI. See United States

v. Chrestman, ECF No. 23 at 28 (D.D.C. February 26, 2021) (Counting against the Defendant

that he did not self-surrender even though he did not flee). No evidence could be stronger that

Mr. McKellop intends to appear in court for all hearings and resolve this matter.

       Additionally, the fact that Mr. McKellop reached out to the Government through Counsel

soon after becoming aware that they were looking for information related to him, shows the

strength of his character.

                                    Danger to the Community

       Mr. McKellop is in no way a danger to the community or any person, and this factor

weighs heavily in favor of Mr. McKellop’s release. Mr. McKellop’s lack of a criminal history or

any record of violent behavior prior to or subsequent to the incident on January 6, 2021 is

certainly dispositive of this fact. Further, unlike other individuals charged in this incident, Mr.

McKellop was not a member of any group engaged in planning any form of attack. Nor was Mr.

McKellop a ringleader of any group. The evidence shows that Mr. McKellop came to

Washington D.C. for a rally for the then-President Trump, not to engage in any destructive or

obstructive conduct.

       Further the Government clearly does not believe that Mr. McKellop is a danger to the

community or others, as their own actions show. Mr. McKellop’s identity was known to the

Government as early as February 12, 2021, when it was communicated to them through Counsel

on Mr. McKellop’s request. Per the Statement of Facts, it appears that Mr. McKellop’s identity
            Case 1:21-mj-00307-ZMF Document 10 Filed 03/22/21 Page 7 of 14




was known even before that date. See Statement of Facts at 5. Further Mr. McKellop was not

asked to self-surrender for more than a month after contacting the Government related to this

incident.

                                        CONCLUSION

       The factor’s above, and the Government’s own actions strongly favor pretrial release in

this matter. The Government has failed in its burden to prove by a preponderance of the evidence

that Mr. McKellop is a flight risk. Mr. McKellop made himself known to the Government soon

after learning they were interested in information related to him. At no time did Mr. McKellop

attempt to flee. Mr. McKellop self-surrendered at the request of Government, bringing the phone

that he had in his possession on January 6, 2021.

        The Government has also failed in its burden to show by clear and convincing evidence

that Mr. McKellop is a danger to the community. Mr. McKellop has no prior criminal record.

Mr. McKellop is a military veteran of more than two decades who earned three Bronze Stars and

a Meritorious Service Award. Mr. McKellop travelled to the then-President Donald J. Trump

rally in his body armor due to the fear of violence from counter protesters. Mr. McKellop was

permitted to remain at large in the community for over a month by the Government after

identifying him. Mr. McKellop self-surrendered at the request of Government, bringing the

phone that he had in his possession on January 6, 2021.

       WHEREFORE, the Defendant, by and through counsel, requests that this Honorable

Court release Mr. McKellop and impose any conditions that it deems appropriate in this matter to

assuage any doubts that Mr. McKellop is neither a flight risk nor danger to the community.
Case 1:21-mj-00307-ZMF Document 10 Filed 03/22/21 Page 8 of 14




                                 Respectfully submitted,

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Case 1:21-mj-00307-ZMF Document 10 Filed 03/22/21 Page 9 of 14




                       EXHIBIT A
Case 1:21-mj-00307-ZMF Document 10 Filed 03/22/21 Page 10 of 14
Case 1:21-mj-00307-ZMF Document 10 Filed 03/22/21 Page 11 of 14
Case 1:21-mj-00307-ZMF Document 10 Filed 03/22/21 Page 12 of 14




                       EXHIBIT B
Case 1:21-mj-00307-ZMF Document 10 Filed 03/22/21 Page 13 of 14
Case 1:21-mj-00307-ZMF Document 10 Filed 03/22/21 Page 14 of 14
